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                                                         - 697 -
                             Nebraska Court of Appeals Advance Sheets
                                  32 Nebraska Appellate Reports
                                                 STATE V. SERRANO
                                                Cite as 32 Neb. App. 697



                                        State of Nebraska, appellee, v.
                                        William S. Serrano, appellant.
                                                     ___ N.W.3d ___

                                          Filed March 12, 2024.    No. A-23-367.

                 1. Convictions: Evidence: Appeal and Error. Regardless of whether
                    the evidence is direct, circumstantial, or a combination thereof, and
                    regardless of whether the issue is labeled as a failure to direct a verdict,
                    insufficiency of the evidence, or failure to prove a prima facie case, the
                    standard is the same: In reviewing a criminal conviction, an appellate
                    court does not resolve conflicts in the evidence, pass on the credibility
                    of witnesses, or reweigh the evidence; such matters are for the finder
                    of fact, and a conviction will be affirmed, in the absence of prejudicial
                    error, if the evidence admitted at trial, viewed and construed most
                    favorably to the State, is sufficient to support the conviction.
                 2. Appeal and Error. Consideration of plain error occurs at the discretion
                    of an appellate court.
                 3. ____. Plain error may be found on appeal when an error unasserted or
                    uncomplained of at trial, but plainly evident from the record, prejudi-
                    cially affects a litigant’s substantial right and, if uncorrected, would
                    result in damage to the integrity, reputation, and fairness of the judi-
                    cial process.
                 4. Criminal Attempt: Intent. Conduct is not to be considered a substan-
                    tial step unless it is strongly corroborative of the defendant’s criminal
                    intent.
                 5. Criminal Attempt. Whether a defendant’s conduct constitutes a sub-
                    stantial step toward the commission of a particular crime and is an
                    attempt is generally a question of fact.

                 Appeal from the District Court for Kimball County: Derek
               C. Weimer, Judge. Affirmed in part, and in part vacated and
               remanded for resentencing.
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        Nebraska Court of Appeals Advance Sheets
             32 Nebraska Appellate Reports
                       STATE V. SERRANO
                      Cite as 32 Neb. App. 697
  Timothy S. Noerrlinger and Kelly S. Breen, of Nebraska
Commission on Public Advocacy, for appellant.
  Michael T. Hilgers, Attorney General, and P. Christian
Adamski for appellee.
  Riedmann, Arterburn, and Welch, Judges.
  Riedmann, Judge.
                       INTRODUCTION
   William S. Serrano appeals from his convictions of man-
slaughter, two counts of attempted terroristic threats, and pos-
session of a firearm during the commission of a felony, fol-
lowing a jury trial in the district court for Kimball County.
Serrano assigns that the district court erred in denying his
motion for directed verdict on all charges for which he was
convicted. Following our review, we affirm his convictions;
however, because the district court committed plain error in
its sentencing of Serrano for his convictions of manslaughter
and attempted terroristic threats, we vacate those sentences and
remand the cause for resentencing on those convictions only.
                        BACKGROUND
   On December 31, 2021, Serrano was with friends when he
discussed wanting to go to the home of his ex-wife, Sheena
Erickson, with an AK-47 rifle and “shoot up” the house.
On January 3, 2022, around 4:30 p.m., Serrano bought two
“single shots” and a half pint of whiskey. Approximately an
hour later, he purchased an additional half pint of whiskey.
About 7:52 p.m., Serrano called Erickson, but she did not
answer her phone. Erickson was at Shellie Pile’s home; Pile
is the mother of Erickson’s boyfriend. About 2 minutes later,
Erickson received a call from Serrano using Tessa Gehring’s
phone; Gehring, the victim of the manslaughter charge, was
Serrano’s girlfriend. Erickson and Serrano’s daughter answered
Erickson’s phone, but she gave the phone back to Erickson
after answering.
                              - 699 -
        Nebraska Court of Appeals Advance Sheets
             32 Nebraska Appellate Reports
                       STATE V. SERRANO
                      Cite as 32 Neb. App. 697
   Serrano began discussing custody issues with Erickson,
because Serrano planned to move an hour away with the chil-
dren. Initially, the conversation was calm, but after Erickson
stated that she would just keep the children on the weekends
rather than return to court on the custody issue, Serrano
“started going off,” saying that Erickson was “a worthless
mother.” Serrano sounded “[r]eally mean” and was speaking
loudly. Serrano started screaming about Erickson’s boyfriend,
and Pile, who could hear the conversation, began yelling at
Serrano. Serrano told Pile, “I’ll come after you, too.” Because
Serrano was yelling and screaming, Erickson hung up the
phone. Serrano and Erickson’s daughter testified at trial and
confirmed that Serrano and Pile were “screaming” and that
Serrano’s voice sounded like he was “mad.”
   Serrano and Erickson’s two sons were with Serrano that
evening, and the older son testified that at some point, Serrano
was on the phone arguing with someone, got mad, and threw
the phone against the wall. The older son thought Serrano was
talking to either a friend or to Erickson. After Serrano threw
his phone, he asked Gehring for her phone. Serrano’s two
sons then went to the family room and began playing a video
game. Serrano came through the family room and went into
the garage; Serrano had placed a “CO2 gun” in the waistband
of his pants, had put on his coat, and had a camouflage back-
pack with him. The older son testified that Serrano said that
“he got called out to the Army.” When Serrano came back
into the house, he had a shotgun that “was opened” (bent
back as though to load it), and he went back to his bedroom.
From the family room, the older son heard several sounds; he
heard Serrano yell at Gehring, “something snap,” Gehring say
“ouch,” a noise like something fell on the ground, and shortly
thereafter, a gunshot.
   Serrano came out of the bedroom, took his sons into the
garage, and called the 911 emergency dispatch service. When
officers arrived on the scene, they saw Serrano, who was very
distraught. Gehring was lying on the floor of the bedroom,
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        Nebraska Court of Appeals Advance Sheets
             32 Nebraska Appellate Reports
                       STATE V. SERRANO
                      Cite as 32 Neb. App. 697
deceased. A shotgun was on the bed, as was an empty box
of ammunition shells. The camouflage backpack was on the
floor, along with a set of keys. Inside the backpack were 23
shotgun shells. An officer opened the shotgun, and a spent
casing was released; DNA testing supported that Serrano was
a contributor of DNA found on the shell. An autopsy con-
firmed that Gehring died from a single shotgun wound to the
head. The shotgun at issue had a damaged trigger. Because of
this, once the hammer was pulled back and engaged, the gun
would fire upon release of the hammer without anyone pulling
the trigger.
   Serrano was charged with manslaughter, attempted first
degree murder, two counts of attempted terroristic threats, and
possession of a firearm during the commission of a felony. At
the conclusion of the State’s case, Serrano made a motion for a
directed verdict, which was denied. Serrano presented no evi-
dence. A jury found Serrano not guilty of attempted first degree
murder and guilty of all other charges. For his conviction of
manslaughter, a Class IIA felony, Serrano was sentenced to 20
to 20 years’ imprisonment. For each conviction of attempted
terroristic threats, a Class IV felony, Serrano was sentenced to
1 year’s imprisonment. For his conviction of possession of a
firearm during the commission of a felony, a Class II felony,
Serrano was sentenced to 10 to 20 years’ imprisonment. The
sentences for manslaughter and possession of a firearm were
to be served consecutively to each other, and Serrano received
485 days’ credit for time served. Serrano appeals.

                  ASSIGNMENTS OF ERROR
   Serrano assigns, reordered and restated, that the district
court erred in denying his motion for a directed verdict on
the attempted terroristic threats charges, because the State
failed to prove he made any threats to commit a crime of
violence with an intent to terrorize. He also assigns that the
district court erred in denying his motion for a directed ver-
dict on the manslaughter and possession of a firearm during
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        Nebraska Court of Appeals Advance Sheets
             32 Nebraska Appellate Reports
                       STATE V. SERRANO
                      Cite as 32 Neb. App. 697
the commission of a felony charges, because the State failed
to prove a proximate cause between the alleged unlawful acts
and the unintentional death.
                  STANDARD OF REVIEW
   [1] Regardless of whether the evidence is direct, circum-
stantial, or a combination thereof, and regardless of whether
the issue is labeled as a failure to direct a verdict, insuffi-
ciency of the evidence, or failure to prove a prima facie case,
the standard is the same: In reviewing a criminal conviction,
an appellate court does not resolve conflicts in the evidence,
pass on the credibility of witnesses, or reweigh the evidence;
such matters are for the finder of fact, and a conviction will
be affirmed, in the absence of prejudicial error, if the evi-
dence admitted at trial, viewed and construed most favorably
to the State, is sufficient to support the conviction. State v.
Samuels, 31 Neb. App. 918, 991 N.W.2d 900 (2023).
   [2,3] Consideration of plain error occurs at the discretion of
an appellate court. State v. Roth, 311 Neb. 1007, 977 N.W.2d
221 (2022). Plain error may be found on appeal when an error
unasserted or uncomplained of at trial, but plainly evident from
the record, prejudicially affects a litigant’s substantial right
and, if uncorrected, would result in damage to the integrity,
reputation, and fairness of the judicial process. Id.                          ANALYSIS
Attempted Terroristic Threats.
   Serrano assigns the district court erred in denying his motion
for a directed verdict on the charges of attempted terroris-
tic threats. He argues that although there was evidence that
he was intoxicated and angry, there was no evidence that he
made a threat of violence to Pile or Erickson. He argues that
Erickson did not feel threatened and that his conduct in his
own residence, more than 38 miles from Pile’s residence,
did not amount to a substantial step toward terrorizing Pile
or Erickson. We find the evidence was sufficient to support
the convictions.
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        Nebraska Court of Appeals Advance Sheets
             32 Nebraska Appellate Reports
                       STATE V. SERRANO
                      Cite as 32 Neb. App. 697
   Serrano was charged with attempted terroristic threats. In
order to convict him, the State needed to present evidence
that Serrano intended to threaten Pile and Erickson with any
crime of violence, with the intent to terrorize them, and that
he engaged in conduct which constituted a substantial step in
the course of conduct intended to culminate in his commission
of the felony offense of terroristic threats and which strongly
corroborated his intent to commit the crime of terroristic
threats. See, Neb. Rev. Stat. § 28-201 (Cum. Supp. 2022);
Neb. Rev. Stat. § 28-311.01 (Reissue 2016).
   [4,5] Conduct is not to be considered a substantial step
unless it is strongly corroborative of the defendant’s criminal
intent. State v. Rocha, 295 Neb. 716, 890 N.W.2d 178 (2017).
Whether a defendant’s conduct constitutes a substantial step
toward the commission of a particular crime and is an attempt
is generally a question of fact. Id. The Eighth Circuit has
stated that “[a]n attempt exists when a defendant’s actions go
‘beyond mere preparation; [are] necessary to the consumma-
tion of the crime; and . . . strongly corroborate [the defend­
ant’s] criminal intent to [commit the predicate offense].’” U.S.
v. Young, 613 F.3d 735, 742 (8th Cir. 2010). We have previ-
ously noted the difficulty in determining when a defendant’s
disposition matures into an inchoate crime but have recognized
that whether a defendant’s conduct constitutes a substantial
step toward the commission of a crime such that it is an
attempt is generally a question of fact. See State v. Pittman, 5
Neb. App. 152, 556 N.W.2d 276 (1996).
   In Pittman, we noted that the Model Penal Code provided
examples of behavior of attempt, including “‘possession of
materials to be employed in the commission of the crime, that
are specially designed for such unlawful use or that can serve
no lawful purpose of the actor under the circumstances’” and
“‘possession, collection or fabrication of the materials to be
employed in the commission of the crime, at or near the place
contemplated for its commission, if such possession, collec-
tion or fabrication serves no lawful purpose of the actor under
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        Nebraska Court of Appeals Advance Sheets
             32 Nebraska Appellate Reports
                       STATE V. SERRANO
                      Cite as 32 Neb. App. 697
the circumstances.’” 5 Neb. App. at 167, 556 N.W.2d at 286,
quoting Model Penal Code § 5.01(2) (1985).
   Here, the evidence showed that a few days prior to the phone
call, Serrano expressed his desire to “shoot up” Erickson’s
home. While on the phone with Erickson, Serrano yelled
angrily at her and told Pile he would “come after [her], too.”
After the phone call ended, Serrano placed a “CO2 gun” in
his waistband, put on his coat, and loaded a backpack with
ammunition. He retrieved a shotgun and loaded it. Serrano
cocked the shotgun, pulling back the hammer. Under these
circumstances, a jury could conclude that possession of these
materials served no lawful purpose and that Serrano was tak-
ing substantial steps, beyond mere preparation, that were to
culminate in his driving to Pile’s home and at the very least
threatening Pile and Erickson with a gun.
   Viewing the events of that evening in the light most favor-
able to the State, we determine the evidence was sufficient for
the jury to find that Serrano’s conduct strongly corroborated
his intent to commit the crime of terroristic threats and that
he took substantial steps toward the commission of that crime.
The district court did not err in denying Serrano’s motion for
directed verdict on the charges of attempted terroristic threats.

Manslaughter and Possession of Firearm.
   Serrano assigns that the district court erred in denying his
motion for a directed verdict on the manslaughter and weap-
ons charges because the State failed to prove proximate cause
between the alleged unlawful acts and the death in its prosecu-
tion for involuntary manslaughter. He articulates his argument
as follows:
         The State offered a novel theory which the [district]
      court apparently accepted that after the phone conversa-
      tion with Erickson and Pile, thirty minutes and 38 miles
      apart, Serrano was still engaged in the unlawful acts of
      Attempted Terroristic Threats by retrieving and load-
      ing a shotgun, gathering shotgun shells and lying to his
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        Nebraska Court of Appeals Advance Sheets
             32 Nebraska Appellate Reports
                       STATE V. SERRANO
                      Cite as 32 Neb. App. 697
      sons about “Army” duties before that shotgun misfired
      killing [Gehring]. The State’s theory ignores the neces-
      sity of proving proximate cause between alleged unlaw-
      ful acts and the death in a prosecution for Involuntary
      Manslaughter.
Brief for appellant at 9.
   Although Serrano phrases his argument in terms of proxi-
mate cause, we analyze it using the specific language of the
relevant statutes. To convict Serrano of manslaughter, the
State had to put forth evidence that Serrano caused Gehring’s
death unintentionally while in the commission of an unlawful
act. See Neb. Rev. Stat. § 28-305 (Reissue 2016). To convict
Serrano of possession of a firearm during the commission of a
felony, the State was required to adduce evidence that Serrano
possessed a firearm during the commission of a felony. See
Neb. Rev. Stat. § 28-1205 (Reissue 2016). In this case, the
underlying unlawful act required under § 28-305 and the
felony under § 28-1205 is the same: terroristic threats against
Pile and/or Erickson.
   Serrano argues that because he shot Gehring more than 30
minutes after his conversation with Pile and Erickson and was
more than 38 miles from their location, the shooting did not
occur “while in the commission of an unlawful act” or “during
the commission of a felony.” Serrano’s argument is premised
on the idea that the attempted terroristic threats occurred only
before and during the phone conversation. But, as addressed
in our analysis of Serrano’s first assignment of error, the evi-
dence, viewed in the light most favorable to the State, was that
Serrano unintentionally killed Gehring by shooting her with
the shotgun while taking substantial steps that would culminate
in threatening Pile and Erickson with that shotgun. This was
sufficient to support the convictions for manslaughter and pos-
session of a firearm during the commission of a felony. The
district court did not err in denying Serrano’s motion for a
directed verdict on these charges.
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        Nebraska Court of Appeals Advance Sheets
             32 Nebraska Appellate Reports
                       STATE V. SERRANO
                      Cite as 32 Neb. App. 697
   Serrano argues the State failed to show a proximate and
causal relation between the alleged unlawful act and the unin-
tentional death. Serrano directs us to case law explaining that
criminal conduct is a proximate cause of an event, if the event
in question would not have occurred but for that conduct, and
that such conduct is not the proximate cause of the event if that
event would have occurred without such conduct.
   However, even viewing the evidence through this lens of
proximate cause, we find no error. Gehring’s death would not
have occurred but for Serrano’s acts involving the shotgun,
which we have determined constituted a substantial step in his
attempted terroristic threats toward Pile and Erickson. This
assignment of error fails.

Plain Error in Sentencing.
   We note a matter of plain error in the imposition of the sen-
tences for Serrano’s convictions of manslaughter and attempted
terroristic threats. For his conviction of manslaughter, a Class
IIA felony, Serrano received a sentence of 20 to 20 years’
imprisonment. However, Neb. Rev. Stat. § 29-2204 (Cum.
Supp. 2022) provides in part that when imposing a sentence
for any class of felony other than a Class III, IIIA, or IV, the
maximum term shall not be greater than the maximum limit
provided by law. Section 29-2204 further provides that the
minimum term shall be any term of years less than the maxi-
mum term imposed by the court or the minimum term shall be
the minimum limit provided by law. Serrano received a term
of 20 to 20 years’ imprisonment, and the minimum term is not
less than the maximum term, nor is it the minimum provided
by law. See Neb. Rev. Stat. § 28-105 (Cum. Supp. 2022). As
such, the sentence imposed does not comply with § 29-2204.
We vacate the sentence imposed for the conviction of man-
slaughter and remand the cause to the district court for resen-
tencing on that count.
   We also find plain error regarding the determinate sentences
imposed for attempted terroristic threats. Attempted terroristic
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        Nebraska Court of Appeals Advance Sheets
             32 Nebraska Appellate Reports
                        STATE V. SERRANO
                       Cite as 32 Neb. App. 697
threats is a Class IV felony; here, the sentences for the Class
IV felonies were imposed concurrently to sentences for a Class
II and a Class IIA felony. With respect to a Class IV felony,
      [f]or any sentence of imprisonment for a Class . . . IV
      felony . . . imposed consecutively or concurrently with
      . . . a sentence of imprisonment for a Class . . . II, or IIA
      felony, the court shall impose an indeterminate sentence
      within the applicable range in section 28-105 that does
      not include a period of post-release supervision, in accor-
      dance with the process set forth in section 29-2204.
Neb. Rev. Stat. § 29-2204.02(4) (Reissue 2016). Thus, here,
the sentences for the Class IV felonies should have been inde-
terminate, because they were imposed consecutively or concur-
rently with sentences for a Class II and a Class IIA felony. We
vacate the sentences imposed for the convictions of attempted
terroristic threats and remand the cause to the district court for
resentencing on those counts.
                        CONCLUSION
   We find that the evidence was sufficient to support Serrano’s
convictions and that the district court did not err in denying his
motions for a directed verdict. However, because the district
court erred by imposing the same term of years for the mini-
mum and maximum term for the conviction of manslaughter
and by imposing determinate sentences for the attempted ter-
roristic threats convictions, we vacate those sentences and
remand the cause to the district court for resentencing on those
counts only.
                    Affirmed in part, and in part vacated
                    and remanded for resentencing.
